Case 3:15-cv-00959-I\/||\/|H-.]RK Document 39 Filed 08/10/18 Page 1 of 1 Page|D 523

AO 440(1{¢:\1. 06H2) Summons in a Civi] Aclion

 

UNrrED STATES DISTRICT CoURT

for the
Middle District of Florida

 

 

 

 

UN|TED STATES OF AMEF||CA
ex rel. PAULA C. LOF!ONA, and
RE|D POTTEFt,

 

P}rrt`n.f§`)_;f($)

\,, Civil Action NO' 3115'CV'959'J'34JRK

lNFlLAW COFiPOF{AT]ON, AFUZONA SUMMlT LAW

SCHOOL, LLC, FLOR|DA COAST/-\L SCHOOL OF
LAW, and BAFiBF{l, lNC.,

 

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Defema'r:'nf(.‘.)

SUMMONS lN A CIVIL ACTION

BAFiBFi|, |nc.

TDS (Daf€miwff'b' flame and address Attn: CORPORAT|ON SEFNICE COMF’ANY DBA CSC - LAWYEFtS |NCO
211 E. YTh Str'eet, Suite 620
AUStin, TX 787-91

A lawsuit has bccn filed against you.

Witliin 21 days after service ofthis summons on you (not counting the day you received it) _ or 60 days it`you
are the Unitcd States or a United States agency, or an officer or employee of the Unitcd States described in Fed. R. Civ.
P. 12 (a}(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
the Federal Rules of Civil Procedure. Tlic answer or motion must be Scrved on the plaintiff or plaintiffs attorney,
whose name and address are: MI|]S + Woods ]_aw, PLLC

5055 Nor‘th 12th Street, Suite 101
Phoenix, AZ 85014

lf you fail to respond, judgment by default will be entered against you for tlic relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COURT

Date: _ /Fi'L/_I ',"{,. )i /O;,_'l_§i i?/ \`

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